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     Attorneys for Defendant
4    Aleksandr Lastovskiy
5
6                               IN THE UNITED STATES DISTRICT COURT
7                         FOR THE EASTERN DISTRICT OF CALIFORNIA
8
9                                               ) Case No.: 2:12 CR 322 MCE
     UNITED STATES OF AMERICA,                  )
10                                              ) STIPULATION AND ORDERTO MODIFY
                   Plaintiff,                   ) CONDITIONS OF RELEASE
11                                              )
           v.                                   )
12                                              )
     ALEKSANDR LASTOVSKIY,                      )
13                                              )
                   Defendant.                   )
14
15         On September 28, 2012, following his arrest, Mr. Lastovakiy was released on
16
     conditions, including condition number 14, which requires Mr. Lastovakiy to wear an
17
     electronic monitoring devise. These devises are not water proof and cannot be
18
19   submerged.
20
           In June of 2006 Mr. Lastovakiy was involved in a very serious motorcycle
21
     accident. Among other injuries he suffered a left humerus fracture and left scaphoid
22
23   fracture both of which required surgery.
24         Mr. Lastovakiy, who is very athletic, under when physical therapy to attempt to
25
     repair and mitigate the damage in his arm. Among the recommended rehabilitation
26
27   exercises included swimming and the use of a sauna to increase strength and range of
28   motion.


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             Mr. Lastovskiy has been supervised by Pre-Trial Services since the end of
1
2    September 2012 . Mike Evans is the pretrial Services officer in charge of Mr.
3    Lastovskiy’s case. He has no objection to having Mr. Lastovskiy’s conditions changed to
4
     remove the requirement that Mr. Lastovskiy wear a GPS unit (Condition number 14.)
5
6    Further, the assigned Assistant United States Attorney, Heiko Coppola, has no objection
7    to this request.
8
9    DATED: December 9, 2013                  BENJAMIN B. WAGNER
                                              United States Attorney
10
11                                            By /s/ Heiko Coppola
                                              HEIKO COPPOLA
12                                            Assistant U.S. Attorney
13
14   DATED: December 9, 2013                  The CHASTAINE LAW OFFICE

15
16                                            By /s/ Michael Chastaine
                                              MICHAEL CHASTAINE
17                                            Attorney for Defendant
                                              Aleksandr Lastovskiy
18
19
20                                                  ORDER
21
22   IT IS SO ORDERED. Good Cause Appearing, it is hereby ordered that the previously

23   imposed Condition 14 is removed. All other previously imposed conditions of pretrial release
24   shall remain in full force and effect.
25
     Dated: December 9, 2013
26                                                      _____________________________________
                                                        CAROLYN K. DELANEY
27
                                                        UNITED STATES MAGISTRATE JUDGE
28


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